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                            UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MINNESOTA

IN RE:

Annie Smith-Dotson                                       CHAPTER: 13
4151 Penn AVE N                                          CASE NUMBER: 19-43084
Minneapolis, MN 55412                                    CLAIM AMOUNT: $3067.56



Debtors.
___________________

                      ________________________________
                      NOTICE OF WITHDRAWAL OF PROOF OF CLAIM


           COMES NOW, Jefferson Capital Systems, LLC, and pursuant to Rule 3006,


F.R.Bkcy.P., hereby withdraws its Proof of Claim, filed 12/3/2019, in the amount of $3067.56.


           Jefferson Capital Systems, LLC hereby releases and discharges the Chapter 13


Trustee from any further liability for said Proof of Claim, and specifically requests the Chapter


13 Trustee to discontinue any and all disbursements in connection with said Proof of Claim.


           This 3rd day of September, 2020.



                                                   Jefferson Capital Systems, LLC

                                                   By: _________________
                                                       /s/ Kelly Lukason
                                                   Kelly Lukason Bankruptcy Specialist

                                                   Jefferson Capital Systems, LLC
                                                   16 McLeland Road
                                                   St. Cloud, Minnesota 56303
                                                   (800) 928-7314
     Case 19-43084       Doc 26     Filed 09/03/20 Entered 09/03/20 08:40:21       Desc Main
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                                   __________________
                                   CERTIFICATE OF SERVICE

I do hereby certify that I served a copy of the NOTICE OF WITHDRAWAL OF

PROOF OF CLAIM filed in the Bankruptcy case on:


          Debtor:                               Annie Smith-Dotson
                                                4151 Penn AVE N
                                                Minneapolis, MN 55412


          Debtor's Attorney:                    Andrew Walker
                                                4356 Nicollet AVE
                                                Minneapolis, MN 55409


          Chapter 13 Trustee:                   GREGORY A BURRELL
                                                100 South Fifth Street Suite 480
                                                MINNEAPOLIS, MN 55402


by submitting electronically with the court.


          This 3rd day of September, 2020.



                                                Jefferson Capital Systems, LLC


                                                By: _________________
                                                    /s/ Kelly Lukason
                                                Kelly Lukason Bankruptcy Specialist

                                                Jefferson Capital Systems, LLC
                                                16 McLeland Road
                                                St. Cloud, Minnesota 56303
                                                (800) 928-7314
